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                 EXHIBIT 2

   FILED UNDER SEAL
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                                                               Page 1
                   UNITED STATES DISTRICT COURT

                  NORTHERN DISTRICT OF CALIFORNIA

                        SAN FRANCISCO DIVISION



    WAYMO LLC,

              Plaintiff,

    vs.                                   No. 3:17-cv-00939-WHA

    UBER TECHNOLOGIES, INC.;

    OTTOMOTTO LLC; OTTO TRUCKING,

    INC.,

              Defendants.

                                         /



          WAYMO & UBER CONFIDENTIAL ATTORNEYS' EYES ONLY



              VIDEOTAPED DEPOSITION OF GREGORY KINTZ

                       SAN FRANCISCO, CALIFORNIA

                       WEDNESDAY, APRIL 26, 2017




    BY: ANDREA M. IGNACIO, CSR, RPR, CRR, CCRR, CLR ~

    CSR LICENSE NO. 9830

    JOB NO. 2592507



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                                                                  Page 50
 1           And in that Excel file, I computed                     12:08

 2                                               , as               12:08

 3   previously discussed.                                          12:09

 4       Q Okay.                                              I




11       Q   Okay.    And I -- I just want to clarify.              12:09

12           So, earlier we were looking at                         12:09

                   for the GBr3.                                    12:09

14           Do you recall that?                                    12:09

15       A   Yes.                                                   12:09

16       Q   By                                                     12:09



                                              is that correct?      12:09

19       A   No.     I was computing the --                         12:09

20       Q   Using                                                  12:09

21       A   Yes.                                                   12:10

22       Q   And then there is this number                          12:10



24           Do you see that in paragraph 33?                       12:10

25       A   Yes.                                                   12:10
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                                                                  Page 54
 1               But let me ask you my next question, which         12:13

2    is:       You also looked at the



 4         A     Correct.                                           12:13

5          Q     And that was part of your determination as to      12:13

 6   whether or not there was                                       12:13

 7                     ; correct?                                   12:13

 8               MR. JAFFE:   Objection; form.                      12:13

 9               THE WITNESS:    There is -- as demonstrated by     12:13

10   the information in the                      file, that there   12:13




13               MR. KIM:   Q.   So you could look at the           12:14




16         A     The        information by itself would not         12:14

17   yield enough data to actually produce that                     12:14

18   information.                                                   12:14

19         Q     Why not?                                           12:14

20         A     Because                                            12:14




23         Q     And so you would need to look at                   12:14



                                                  correct?          12:14
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                                                               Page 83
 1         A   That is correct.                                     13:42

 2         Q   Okay. And in order to calculate                      13:42




10         Q   Is that something you could do now                   13:42

11                                                                  13:42

12         A   Yes.                                                 13:42

13         Q   Okay.    What -- what is                             13:42



15         A   Do you have a calculator?                            13:42

16         Q   We do.                                               13:42

17         A   Do you have a sheet of paper that I can write        13:42

18   on?                                                            13:42

19         Q   Yes.                                                 13:42

20         A   Do you have a pen that I can write with?             13:43

21         Q   Sure.                                                13:43

22         A   (Witness complies.)                                  13:43

23             I come up with                   , with              13:46

24   rounding to the third significant digit.                       13:46

25         Q   And what does that number represent?                 13:46
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                                                                 Page 89
 1            THE WITNESS:     No.   With the data that you've      13:55

 2   given me right here at this time, with the equipment           13:56

 3   that's available to me, I cannot make a determination.         13:56

 4            MR. KIM:    Q.   And what would you need to make      13:56

 5   that determination?                                            13:56

 6       A    I would need to have information that gave me         13:56




13       Q    And the same would be true for Exhibit 1043           13:57

14   that you were just looking at before that?                     13:57

15       A    No.     1043 actually has component information       13:57

16   on it.                                                         13:57

17       Q    Okay.    And what would you need to determine         13:57

18   whether or not the diodes have                                 13:57

19            for the board depicted in Exhibit 1043?               13:57

20       A    Ideally, I would need a way of expanding the          13:57

21   image and                                                      13:58



                      and from that information, computing the      13:58

24   data.                                                          13:58

25            I frequently do that type of analysis in              13:58
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                                                               Page 90
 1   graphics programs.   I in particular use a program             13:58

 2   called CorelDRAW that allows me to do this type of             13:58

 3   detailed point-by-point analysis.                              13:58

 4       Q   And that would be for the purpose of                   13:58

 5                                                                  13:58

 6       A   That's correct.                                        13:58

 7       Q   And you didn't do that for the board depicted          13:58

 8   in Exhibit 1043; correct?                                      13:58

 9       A   That's correct.                                        13:58

10       Q   Okay.                                                  13:58

11           (Document marked Exhibit 1045                          13:58

12            for identification.)                                  13:59

13           MR. KIM:   I have the same question for                13:59

14   Exhibit No. 1045, which bears Bates No. Uber00008610.          13:59

15       Q   Does this exhibit depict                               13:59

16                                                                  13:59

17       A   This document is an assembly document.      So         13:59

18                                                                  13:59

19                                                                  13:59

20                                                                  13:59

21                                                                  13:59

22       Q   So sitting here today, you can't tell me               13:59

23   whether or not the board depicted in Exhibit 1043 has          13:59

24   continuing varying --                                          13:59

25           MR. JAFFE:   1045, I'm assuming you're asking          13:59
